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                          Exhibit 1
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                        HEALTHVANA
      Reg. No. 4,857,628               HEALTHVANA, INC. (DELAWARE CORPORATION)
          .                            C/O PRANGER LAW GROUP
      Registered Nov. 24, 2015 88 GUY PLACE, SUITE 405
                                       SAN   FRANCISCO,   CA 94105
      Int. Cls.: 9,42 and 44
                                       FOR: COMPUTER SOFTWARE, NAMELY, DOWNLOADABLE SOFTWARE AND MOBILE
                                       APPLICATIONS FOR HEALTHCARE RECIPIENTS FOR MANAGING PERSONAL HEALTH,
      TRADEMARK                        LOCATING PROVIDERS OF HEALTHCARE SERVICES, COMMUNICATING WITH PRO-
                                       VIDERS OF HEALTHCARE SERVICES, AND OBTAINING, STORING, AND SHARING
      SERVICE   MARK                   PERSONAL MEDICAL AND HEALTHCARE RECORDS; AND COMPUTER SOFTWARE,
                                       NAMELY, DOWNLOADABLE SOFTWARE AND MOBILE APPLICATIONS FOR HEALTH-
      PRINCIPAL    REGISTER            CARE PROVIDERS FOR TRACKING, STORING, AND SHARING MEDICAL AND
                                       HEALTHCARE RECORDS          WITH HEALTHCARE     RECIPIENTS, IN CLASS   9 (U.S. CLS. 21,
                                       23,26,36 AND 38).

                                       FIRST USE 7-8-2014; IN COMMERCE     7-8-2014.

                                       FOR: APPLICATION SERVICE PROVIDER (ASP) FEATURING SOFTWARE FOR USE IN
                                       CONNECTION WITH MEDICAL DATA AND HEALTHCARE MANAGEMENT, NAMELY,
                                       ORGANIZING, TRACKING, STORING, AND SHARING OF HEALTH AND MEDICAL RE-
                                       CORDS BY AND BETWEEN HEALTHCARE PROVIDERS AND HEALTHCARE RECIPIENTS;
                                       PROVIDING SOFTWARE AS A SERVICE (SAAS) FOR THE STORAGEAND VERIFICATION
                                       OF THE EXISTENCE OF USER AND HEALTH PROVIDER SUPPLIED HEALTH INFORMA-
                                       TION AND DOCUMENTS, AND TIIE GRANTING AND CONTROLLING OI ACCESS TO
                                       THE INFORMATION AND DOCUMENTS; TEMPORARY USE OF ONLINE NON-DOWN-
                                       LOADABLE SOFTWARE AND INTERACTIVE WEBSITE FEATURING TECHNOLOGY
                                       THAT ALLOWS HEALTHCARE RECIPIENTS TO MANAGE PERSONAL HEALTH, LOCATE
                                       PROVIDERS OF HEALTHCARE SERVICES, COMMUNICATE WITH PROVIDERS OF
                                       HEALTHCARE SERVICES, AND OBTAINING, STORE, AND SHARE PERSONAL HEALTH
                                       AND MEDICAL RECORDS; PROVIDING TEMPORARY USE OF ONLINE NON-DOWNLOAD-
                                       ABLE COMPUTER FOR HEALTHCARE PROVIDERS FOR TRACKING, STORING, AND
                                       SHARING HEALTHCARE AND MEDICAL RECORDS WITH HEALTHCARE RECIPIENTS,
                                       IN CLASS 42 (U.S. CLS. 100 AND 101).
       AicseeteXo Zea
                                       FIRST USE 7-8-2014; IN COMMERCE     7-8-2014.
       Director of the United States
       Patent and Trademark Office




                                                          Exhibit 1
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                                                               of 33 Page
                                                                     Page ID
                                                                          ID #:716
                                                                             #:716




         Reg.   No.   4,857 ,028   FOR: CONSULTING SERVICES IN THE FIELD OF HEALTHCARE; INTERACTIVE WEBSITE
                                   FEATURING   HEALTHCARE   INFORMATION     FOR HEALTHCARE     PROVIDERS FOR
                                   TRACKING, STORING, AND SHARING HEALTHCARE AND MEDICAL RECORDS WITH
                                   HEALTHCARE RECIPIENTS, IN CLASS 44 (U.S. CLS. 100 AND 101).

                                   FIRST USE 7-8-2014; IN COMMERCE        7-8-2014.

                                   THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                   TICULAR FONT, STYLE, SIZE, OR COLOR.

                                   SER. NO. 86-331,562, FILED 7-8-2014.

                                   ALEX KEAM, EXAMINING ATTORNEY




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